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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
7                                             CALIFORNIA
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     THE UNITED STAES OF AMERICA                       Case Number: 17-CR-000082 KJM
12   V.

13                                                     ORDER SEALING DEFENDANT'S
                                                       REQUEST TO SEAL AND COMPETENCY
     JOHN ANTHONY AYON
14                                                     BRIEF

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18                  Having considered the Defendant's Request to Seal, Competency Brief and
19   accompanying exhibits, Local Rule 141(b) and the considerations set forth in the case of

20   Oregonian Publishing Co. v. United States District Court for the District of Oregon, 920 F.2d

21   1462, 1466 (9th Cir. 1990), THE COURT HEREBY FINDS THAT:

22          1. Defendant's privacy interest in his mental health evaluations and right to effective

23   assistance of counsel are compelling interests;

            2. In the absence of sealing these compelling interests would be harmed; and
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                  Case 2:17-cr-00082-KJM Document 66 Filed 06/12/19 Page 2 of 2



1            3. There are no alternatives to sealing that would adequately protect those compelling

2    interests.

3            Therefore IT IS ORDERED THAT Defendant's Competency Brief and accompanying

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     exhibits, and Request to Seal be filed under seal.

     DATED: June 12, 2019.
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                                                   UNITED STATES DISTRICT JUDGE
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